Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 1 of 7 Page ID #2172




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                           Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                    MDL No. 3004
 This Document Relates to All Cases



                          MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

       This case is before the Court sua sponte on the matters of discovery and compliance

with the Orders of this Court. In Case Management Order No. 5, the undersigned

directed Defendants to produce to Plaintiffs all discovery from Hoffmann v. Syngenta Crop

Protection, LLC, et al., No. 17-L-517 (Ill. Cir. Ct., 20th Jud. Cir.). Defendants objected to this

Order with regard to any privileged or protected documents. (Doc. 319). On September

3, 2021, the Court overruled Defendants’ objections and ordered Defendants to turn over

any document that does not contain attorney work product. (Doc. 332). The Court’s

September 3 Order specifically directed Defendants to produce all non-expert witness

deposition transcripts and exhibits from Hoffman. (Id.).

       Plaintiff’s counsel in Hoffman—who also has cases pending in this MDL—

subsequently filed an Emergency Motion to Enforce the Protective Order in the Circuit

Court of St. Clair County. Plaintiff’s counsel specifically sought to prohibit the production

of the deposition transcripts of the Syngenta Defendants’ corporate witnesses, Philip

Botham and Montague Dixon, and Chevron’s corporate witness, Timothy Patterson,




                                          Page 1 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 2 of 7 Page ID #2173




because the transcripts allegedly contained attorney work product including case

theories and trial strategy. Circuit Judge Kevin Hoerner granted that motion, but he did

not explicitly prohibit the production of Defendants’ corporate witness deposition

transcripts. Instead, the order prohibited “the disclosure of the transcripts and videotapes

of the depositions of Defendants’ experts and the exhibits thereto” and ordered

Defendants not to disclose the documents in the MDL to the extent they include “the

substance of Plaintiffs’ experts’ opinions or the bases therefor, or Plaintiffs’ counsel’s

theories of the case or trial strategy.” (Doc. 726-1 at pp. 11-12).

          The MDL Plaintiffs then filed a motion for in camera review of the corporate

witness deposition transcripts. (Doc. 726). Plaintiffs asserted the transcripts were not

privileged under the work product doctrine, Judge Hoerner’s order did not prohibit

production of non-expert materials, and the transcripts were necessary to ensure

Defendants’ corporate representatives gave testimony consistent with their prior

testimony. (Id.). In response, Defendants asserted Judge Hoerner made a mistake in

wording in his order and meant to prohibit the disclosure of the corporate witness

deposition transcripts, considering the language referenced above was contained in a

section titled “Depositions of Defendants’ corporate designees.” (Doc. 806). And

Defendants, of course, were concerned with violating the terms of Judge Hoerner’s Order

given that they remain parties to the Hoffman matter.1

          While Defendants are probably correct that Judge Hoerner made a mistake, the




1   While the parties are in the process of settling in Hoffman, the settlement has not been finalized.


                                                 Page 2 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 3 of 7 Page ID #2174




Order says what it says. Judge Hoerner did not specifically prohibit the production of

Defendants’ corporate witness deposition transcripts. Thus, the Court ordered

Defendants to produce the documents for this Court’s in camera review to determine

whether they contained privileged attorney work product. (Doc. 889). Yet, Defendants

still have been reluctant to comply and provide the Court with the documents for in

camera review, much less produce the documents to Plaintiffs, as doing so would

potentially violate Judge Hoerner’s order.

       With the corporate representative depositions rapidly approaching in the MDL,

however, the time has come to put this issue to rest. Accordingly, the Court invokes its

powers under the All Writs Act and the relevant exceptions to the Anti-Injunction Act to

enjoin Judge Hoerner’s Order prohibiting the production of the corporate witness

deposition transcripts.

       The All Writs Act empowers federal courts to “to issue all writs necessary or

appropriate in aid of their respective jurisdictions and agreeable to the usages and

principles of law.” 28 U.S.C. § 1651. The United States Supreme Court “has repeatedly

recognized the power of a federal court to issue such commands under the All Writs Act

as may be necessary or appropriate to effectuate and prevent the frustration of orders it

has previously issued in its exercise of jurisdiction.” United States v. New York Tel. Co., 434

U.S. 159, 172 (1977).

       The Anti-Injunction Act does not provide authority for the issuance of injunctions,

but instead limits the authority that a court would otherwise have under the All Writs

Act if state litigation is involved. In re Jimmy John's Overtime Litig., 877 F.3d 756, 770 (7th


                                        Page 3 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 4 of 7 Page ID #2175




Cir. 2017). The Anti-Injunction Act bars a federal court from enjoining state court

proceedings, “except as expressly authorized by Act of Congress, or where necessary in

aid of its jurisdiction, or to protect or effectuate its judgments.” 28 U.S.C. § 2283. “This

exception, the Supreme Court teaches, means that an injunction may be issued where

‘necessary to prevent a state court from so interfering with a federal court’s consideration

or disposition of a case as to seriously impair the federal court’s flexibility and authority

to decide that case.’” Winkler, 101 F.3d at 1201 (quoting Atlantic Coast Line R.R. v.

Brotherhood of Locomotive Engineers, 398 U.S. 281, 295 (1970)); see also In re Ocwen Fed. Bank

FSB Mortg. Servicing Litig., 397 F. Supp. 2d 957, 961 (N.D. Ill. 2005) (“While federal courts

ordinarily may not enjoin state actions, where a federal MDL court’s jurisdictional power

is sufficiently threatened by a parallel state court action, such an injunction may issue.”).

For example, in Winkler, the Seventh Circuit held that a federal district court presiding

over complex multidistrict litigation has the authority to issue an injunction to protect the

integrity of its pretrial discovery orders, as long as the injunction is narrowly crafted to

prevent specific abuses that threaten the court’s ability to effectively manage the

litigation. Id. at 1203.

       Even if the Court has the power to issue an injunction, the undersigned “must still

determine whether an injunction is an appropriate exercise of its authority” under

Federal Rule of Civil Procedure 65. In re Jimmy John’s Overtime Litig., 877 at 769. For an

injunction to issue, Plaintiffs must have a “better than negligible” chance of succeeding

on the merits, no adequate remedy at law, and irreparable harm absent such relief. Id.

Harm is irreparable if it cannot be prevented or fully rectified by the final judgment after


                                        Page 4 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 5 of 7 Page ID #2176




trial. Girl Scouts of Manitou Council, Inc. v. Girls Scouts of the United States, Inc., 549 F.3d

1079, 1089 (7th Cir. 2008). If those requirements are met, then the Court must balance the

harm that party will suffer without an injunction against the harm the other party would

suffer should the Court issue an injunction. Cassell v. Snyders, 990 F.3d 539, 545 (7th Cir.

2021). The Court must also consider the public interest in granting or denying an

injunction. Id. In its final analysis, “the district court equitably weighs these factors

together, seeking at all times to minimize the costs of being mistaken.” Id. (quotation and

citation omitted).

       Considering the low threshold for the first element, as well as the fact that

Defendants have agreed to settle the Hoffman matter in state court, the Court finds

Plaintiffs have a better than negligible chance of success on the merits. Furthermore,

Plaintiffs in all 677 cases in this MDL will suffer irreparable harm for which there is no

adequate remedy law if they are unable to review the corporate witnesses’ prior

testimony before their depositions in this matter, both to prepare for the depositions and

for impeachment purposes. For the same reason, Plaintiffs would be greatly harmed if an

injunction is not entered, but Defendants would suffer no harm. Defendants have access

to the deposition transcripts and exhibits, and defense counsel can prepare their clients

for their upcoming depositions accordingly. Plaintiffs are clearly at a disadvantage. And

the public always has an interest in fair litigation, especially when the matter involves

hundreds of plaintiffs from across the United States. Issuing an injunction to ensure

Plaintiffs have access to the same materials as Defendants only serves the public interest.

       Finally, when considering all factors as well as the costs of being mistaken, the


                                         Page 5 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 6 of 7 Page ID #2177




Court is confident that an injunction is proper. Although Plaintiff’s counsel in Hoffman

asserts the corporate witness depositions constitute attorney work product, a claim with

which the state court agreed, the undersigned finds the transcripts are not protected work

product.

       “The attorney work product privilege establishes a zone of privacy in which

lawyers can analyze and prepare their client’s case free from scrutiny or interference by

an adversary.” Miller UK Ltd. v. Caterpillar, Inc., 17 F. Supp. 3d 711, 734 (N.D. Ill. 2014)

(citing Sandra T.E. v. South Berwyn School Dist. 100, 600 F.3d 612, 620 (7th Cir. 2010); Hobley

v. Burge, 433 F.3d 946, 949 (7th Cir. 2006)). “The work-product doctrine is designed to

serve dual purposes: (1) to protect an attorney’s thought processes and mental

impressions against disclosure; and (2) to limit the circumstances in which attorneys may

piggyback on the fact-finding investigation of their more diligent counterparts.” Sandra

T.E., 600 F.3d at 621–22. The privilege protects documents prepared by attorneys in

anticipation of litigation, documents that consist of “the mental impressions, conclusions,

opinions, or legal theories of a party’s attorney or other representative concerning the

litigation.” Id. (quoting FED. R. CIV. P. 26(b)(3)(B)). The privilege is waived, however,

when the work product is voluntarily disclosed to an adversary. Id. (citing United States

v. Hamilton, 19 F.3d 350, 353 (7th Cir. 1994)). “Because the protection is designed to protect

an attorney’s trial preparation and mental processes from discovery at the behest of an

adversary, clearly voluntary disclosure to an adversary would almost invariably be seen

as a total waiver.” In re Bank One Sec. Litig., First Chicago S’holder Claims, 209 F.R.D. 418,

423 (N.D. Ill. 2002).


                                        Page 6 of 7
Case 3:21-md-03004-NJR Document 935 Filed 02/08/22 Page 7 of 7 Page ID #2178




       Clearly, Plaintiff’s counsel in Hoffman waived any work-product protection that

existed when he disclosed his thoughts and strategies to Defendants during the relevant

depositions. Moreover, Defendants possess the transcripts. There is no doubt, then, that

the privilege—if any existed—was waived by counsel in Hoffman and the deposition

transcripts do not constitute protected work product.

       Because the transcripts do not constitute work product, and the state court’s

protective order is the only obstacle preventing Defendants from producing this non-

privileged material, the Court hereby ENJOINS Judge Hoerner’s Order enforcing the

Protective Order in Hoffmann v. Syngenta Crop Protection, LLC, et al., No. 17-L-517 (Ill. Cir.

Ct., 20th Jud. Cir.). This injunction is LIMITED to Judge Hoerner’s purported restriction

on producing the deposition transcripts of Philip Botham, Montague Dixon, and Timothy

Patterson. Defendants shall produce the deposition transcripts Philip Botham, Montague

Dixon, and Timothy Patterson to Plaintiffs’ counsel within 24 hours.

       The Clerk of Court shall provide a copy of this Order to Judge Hoerner via email

message at Kevin.Hoerner@co.st-clair.il.us.

       IT IS SO ORDERED.

       DATED: February 8, 2022

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                                                  NANCY J. ROSENSTENGEL
                                                  Chief U.S. District Judge




                                        Page 7 of 7
